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               EXHIBIT A




                                                         Exhibit A
3/26/2021                                                            Tarrant County - Civil
                Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21                              Page 2 of 19 PageID 8




                                  Civil Case and Transaction Information                                    03/26/2021 9:36 AM




    Court :       048         Case :       323698        Search     New Search          Show Service Documents ONLY


   Cause Number : 048-323698-21                                      Date Filed : 03-01-2021
                             STEPHANIE ROBERSON | VS | QUICKTRIP CORPORATION
   Cause of Action : INJURY OR DAMAGE, OTHER INJURY OR DAMAGE
   Case Status : PENDING
   File Mark Description                                      Assessed Fee Credit/Paid Fee
     03-01-2021       PLTF'S ORIG PET & REQ/DISCLOSURE                                                      $289.00
                                                                                               N

     03-01-2021       PAYMENT RECEIVED trans #1                                                                         $289.00
                                                                                               Y

     03-01-2021       COVER LTR TO ORIG PET & REQ/CIT-                                                                     $0.00
                      EMAIL

     03-01-2021       CIT-ISSUED ON QUICKTRIP                                                                  $8.00
                      CORPORATION-On 03/02/2021                                               N Svc

     03-01-2021       PAYMENT RECEIVED trans #4                                                                            $8.00
                                                                                               Y

     03-09-2021       CIT RET OF SVC-QUICKTRIP                                                                             $0.00
                      CORPORATION EXEC 3-5-21

     03-09-2021       CIT Tr# 4 RET EXEC(QUICKTRIP                                                                         $0.00
                      CORPORATION) On 03/05/2021




https://dcsa.tarrantcounty.com/Civil/NameSearch#/CaseAndTransInfo                                                                  1/2
Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21   Page 3 of 19 PageID 9




               EXHIBIT B




                                                         Exhibit B
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                                                                                                     FILED
                                                                                           TARRANT COUNTY
                                                                                            3/1/2021 12:00 AM
                                                 048-323698-21                            THOMAS A. WILDER
                                CAUSE NO._ _ _ _ _ __
                                                                                            DISTRICT CLERK

STEPHANIE ROBERSON                                §   IN THE DISTRICT COURT
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §   TARRANT COUNTY, TEXAS
                                                  §
                                                  §
QUICKTRIP CORPORATION                             §
                                                  §
         Defendant,                               §              JUDICIAL DISTRICT

               PLAINTIFF'S ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE

TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Plaintiff, STEPHANIE ROBERSON, complaining of Defendant,

QUICKTRIP CORPORATION and for cause of action would show unto the Court the following:

                                                 I.
                                   PARTIES AND SERVICE

Plaintiff

1.      Plaintiff, STEPHANIE ROBERSON is a resident of Dallas, Texas.

Defendant

1.1     Defendant, QUICKTRIP CORPORATION is a corporation authorized to conduct business in

the State ofTexas and may be served with process by its registered agent: Marshall J. Wells, 4705 S.

129th Avenue, Tulsa, Oklahoma, 74134-7008.

            SERVICE OF THIS DEFENDANTS IS REQUESTED AT TIDS TIME

                                           II.
                                JURISDICTION AND VENUE

2.1     This Court has jurisdiction overtbe Defendant as it conducts business in the State of Texas

and the amount in controversy exceeds the minimum jurisdictional limit of this Court. Venue is

PLAINTIFF'S ORIGINAL PETffiON & REQUESTS FOR DISCLOSURE
PAGEl
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proper in Tarrant County, Texas under the Texas Civil Practices and Remedies Code §15.002 as

QUICKTRIP CORPORATION has numerous locations throughout the Tarrant County, Texas area.

                                                    m.
                                                 FACTS

3.1     On June 15, 2019, STEPHANIE ROBERSON was a business invitee of QUICKTRIP

CORPORATION Store 959, located at 5300 McCart Avenue, Fort Worth, Texas 76133.

3.2     On June 15, 2019, the Plaintiff put the gas nozzle in her fuel tank and when she started

pumping gas, the gas nozzle "exploded" causing gas to spray all over the Plaintiff and she sustained

severe chemical bums. The QUICKTRIP CORPORATION has refused to investigate and process

Plaintiff's claim, forcing Plaintiff to file suit to protect her rights.

3.3     As a result of the Defendant's negligent conduct as well as failing to maintain a safe and

defect free gas nozzle resulted in Plaintiffs injury. Defendant was in complete control of the gas

pumps in question.

3.4     Consequently, Plaintiff suffered serious bodily injury as a result of the fall which was

proximately caused by the dangerous condition of the unsafe and defective gas nozzle.

3.5     The Defendant was negligent in its maintenance of the gas nozzle in question by failing to

maintain the nozzle in a safe operating manner as any reasonably prudent seller of gasoline would in

the same or similar circumstance.

                                             IV.
                                      PREMISES LIABILITY

4.1    Plaintiffwas a business invitee on the premises in question.

4.2    QUICKTRIP CORPORATION is the owner of the property in question where the incident

which forms the basis of this lawsuit occurred.

4.3    The condition of the defective gas nozzle created a dangerous condition on said premises.
PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
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 4.4       Defendant knew or reasonably should have known of the above-referenced dangerous

 condition on said premises.

4.5       Defendant owed a duty to Plaintiff as a business invitee to warn of said dangerous condition

 and to make the dangerous condition safe. Defendant breached this duty by failing to warn and

failing to make safe this dangerous condition.

4.6       Said breach of duty by Defendant proximately caused the Plaintiffs injuries complained of

herein.

                                                    v.
                                       DAMAGES OF PLAINTIFF

5.1       As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiff

was injured. Plaintiff demands compensation for the following damages.

1.        Reasonable medical care and expenses in the past. These expenses were incurred by Plaintiff

          for the necessary care and treatment of the injuries resulting from the accident complained of

          herein and such charges are reasonable and were usual and customary charges for such

          servtces;

2.        Reasonable and necessary medical care and expenses which will in all reasonable probability

          be incurred in the future;

3.        Physical pain and suffering and mental anguish in the past;

4.        Physical pain and suffering and mental anguish which, in all reasonable probability, will be

          suffered in the future;

5.        Physical impairment;

6.        Physical disfigurement;

7.        Loss of earning capacity in the past and future;
PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGEJ
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 8.     Loss ofhousehold services;

9.      By reason of all of the above, Plaintiff, has suffered losses and damages in a sum within the

        jurisdictional limits of the Court and for which this lawsuit is brought.



                                                 VI.
                             PLAINTIFF'S DAMAGES -RULE 47

6.1.       Plaintiff refers to all the preceding and subsequent pleadings in this petition and

incorporated herein by this reference for all purposes.

6.1.       Pursuant to the provisions of Rule 47 ofthe Texas Ru1es of Civil Procedure, Plaintiff

alleges that the damages sought by Plaintiff are within the jurisdictional limits of the Court and

Plaintiff seeks monetary relief over $250,000.00 and less than $1,000,000.00. Plaintiff further

alleges that any award for damages is ultimately left to the purview of the jury. Therefore, Plaintiff

seeks judgment for all other relief to which Plaintiff may be entitled.

6.3     As a direct and proximate result of the wrongful conduct of Defendant, as alleged herein,

Plaintiff has sustained both property damages as well as medical injuries, including past and future

pain and suffering, past and future lost wages, and economic damages.

                                                VII.
                                REQ UEST FOR DISCLOSURE

7.1    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests Defendant to

disclose within fifty (50) days of service of this request, the information and material described in

Rule 194. Plaintiff further requests that the responding parties produce the responsive documents at

The LIDJI Firm in fifty (50) days of service of this request. This Request was initially served on

Defendant with Plaintiffs Original Petition.

                                            VIII.
                                        JURY DEMAND

PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
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8.1     Plaintiff requests a trial by jury in this matter.

                                           IX.
                                   DOCUMENTS TO BE USED

9.1     Pursuant to Rule 193.7 ofthe Texas Rules of Civil Procedure, Plaintiff intends to use all

documents exchanged and/or produced between, by, or among any parties in this matter, including

but not limited to, correspondence, discovery responses, and records (obtained via depositions upon

written questions, by subpoena, by affidavit, or otherwise), during the trial of the above-entitled and

numbered cause. Moreover, Defendant is put on notice not to destroy any evidence, including, but

not limited to reports, files, inter-office emails, intra-office emails, emails from the store from the

corporate office, and/or any communication whatsoever related to the defective gas nozzle that

resulted in the Plaintiffs incident on June 15, 2019. Furthermore, this notice includes preserving

any and all videotape surveillance of the incident in question as well as any evidence related to the

relocation of the parking chock at issue from the location.

                                                   X.
                                              PRAYER

       WHEREFORE PREMISES CONSIDERED, Plaintiff asks that the Court issue citation for

Defendant to appear and answer, and that Plaintiffbe awarded a judgment against Defendant for the

following:

        a.     Judgment against Defendant for damages as pled or otherwise, both general

               and special;

        b.     Pre-judgment and post-judgment legal interest as provided by law;

        c.     Past and future reasonable medical expenses;

        d.     Past and future pain and suffering and mental anguish;

        e.     Past and future physical impairment;


PLAINTIFF'S ORIGINAL PETmON & REQUESTS FOR DISCLOSURE
PAGES
  Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21                   Page 9 of 19 PageID 15

        f.    Past and future physical disfigurement;

        g.    Past and future lost wages and earning capacity;

        h.    Costs of court; and

        1.    Such other and further relief, both general and special, at law or in equity, to

              which Plaintiff may show herself justly entitled.

                                                     Respectfully submitted,

                                                     The LIDJI Firm


                                                     Is/ L Scott Lidji
                                                     I. SCOTT LIDJI
                                                      Texas Bar No. 24000336
                                                      scott@thelid jifirm.com
                                                     MARY JO R. BETZEN
                                                     SBN: 24089054
                                                     maryjo@thelidjifirm.com
                                                     CARLOS G. GALLIANI
                                                     Texas Bar No. 24069752
                                                     carlos@thelidjifirm.com
                                                     Meadow Park Tower
                                                     10440 N. Central Expressway
                                                     Suite 1240
                                                     Dallas, Texas 75231
                                                     legal@thelid jifinn.com
                                                     Toll Tel: (800) BAD-PILL
                                                     Toll Fax: (844) BAD-PILL
                                                     (Tel)     (972) BAD-PILL; (972) 223-7455
                                                     (Fax)      (214) 753-4751
                                                     Website: BADPILL.COM
                                                     ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S ORIGINAL PETffiON & REQUESTS FOR DISCLOSURE
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                 EXHIBIT C




                                                          Exhibit C
                 Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21
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                                                                           THE STATE OF TEXAS
                                                                    DISTRicr COURT, TARRANT COUNTY                                                        jtq t{
                                                                                                                                                                             q fC'  o
                                                                                                                                                                                s~d:l -~53;
                                                                                                CITATION                                             Cause No. 048-323698 21                             4




                                                             STEPHANIE ROBERSON
                                                                                                   vs.
                                                           QUICKTRIP CORPORATION

     TO: QUICKTRIP CORPORATION
                                                                                       B/S REO AGENT-MARS~ J WELLS 4705 S 129TH AVB TDLSA, OK 74134-7008




    You said DEFENDANT are hereby commanded to appear by tiling a written answer to the                                                   ~FF'S              ORXGIRAL PETITION AND
    REQUESTS FOR DISCLOSURE at or before 10 o•clock A.M. of the Monday next after
    the expiration of 20 d5ya after the date of service hereof before the 4Bth District COUrt
    ,100 M CALHOUM, in 4J1d for 1'arrant c:cunty, Texas, at the Courthouse in the City of Port Worth, Tanant county, Texas
   said PLAIRTIFF           be~



   STEPHANIE ROBBRSO!i

   Filed in said COurt on March let, 2021 Against
   QWCltTIUP CORPORATI:OII"


   For suit, said suit being numbered 048-323698-21 the nature of which demand is as shown on eaid
   PLAINTIFF'S ORIGINAL PSTITION AND REQUESTS POR DISCLOSURB a copy of which accompanies this Citation.



                                I SCO'IT LIDJI
                   Attorney for STEPHANIE ROBERSON Phone No. (972)223-74SS
                   Address      MEADOW PARK TOWER 10440 N CENTRAL EXPWY STE 1240 DALLAS. TX 75231
                Thp!!!aa A. Wilder                    , Clerk of the District. Court of Tarrant County, 'l'exas. Given under my hand and. the seal
   of said Court, at office in the City 'of Port Worth, thie the 2nd day of March, 2021.                                                                            ..;;;~'··    -'C1!RTIASI"""


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                  Thomas A_ Wdder, Tarrant County District Clerk. 100 N CALHOUN, FORT WORTH TX 761~02

                                                          OFFICER'S RETURN *04832369821000004*
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   on the      5,     day of             DJi> ~                     ~by
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   REQUESTS FOR I)ISCLOSURS, having first endaraed on eame the date of del



                      AUthorized Person/Constable/Sher1

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   Signed and avorn to by the said - - - - - - - - - - - - - - - before                                                      tne   this _ _ day of _ _ _ _ , _ _
   to certify which vitneae my hand and •eal of office
   I Seal)
                                                                       COunty of _ _ _ _ _ _ _ _ _,, State of                             -----~--
                               Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21       Page 12 of 19 PageID 18

                CITATION

                                                                             i!l!b
        Cause No. 048-323698-21
  STEPHANIE ROBERSON
                                                                             hUH
                                                                              ~~ .. ~10


                                                                            ~
                                                                            ·.~     ... I
                                                                             ...~,.,__ ~~~
              vs.                                                            ... . ....

  QUICKTRIP CORPORATION

             ISSUED
 This 2nd day of Mardi, 2021

         Thomas A. Wilder
  · Tarrant County District Clerk
          100 N CALHOUN
    FORT WORTH TX 76196-0402

  By          NATALIE THIGPEN Deputy


  ISCOTTUDJI
  Attorney for: STEPHANIE ROBERSON
  Phone No. (972)223-7455
  ADDRESS: MEADOW PARK TOWER
        10440 N CENTRAL EXPWY STE 1240
       DALLAS, TX 75231

       CIVIL LAW


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SERVICE FEES NOT COLLECTED
BY TARRANT COUNTY DISTRICT CLERK
OR:tG:tNAL
Case 4:21-cv-00459-P Document 1-2 Filed 03/26/21   Page 13 of 19 PageID 19




                 EXHIBIT D




                                                          Exhibit D
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                                           048-323698-21                                            FILED
                                                                                       TARRANT COUNTY
                                                                                        3/26/2021 9:43 AM
                                    CAUSE NO. 048-323698-21                           THOMAS A. WILDER
                                                                                         DISTRICT CLERK


 STEPHANIE ROBERSON,                   §             IN THE DISTRICT COURT
       Plaintiff,                      §
                                       §
 v.                                    §          48th JUDICIAL DISTRICT COURT
                                       §
 QUICKTRIP CORPORATION,                §
       Defendant.                      §            TARRANT COUNTY, TEXAS
______________________________________________________________________________
 DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE 48TH JUDICIAL DISTRICT COURT:

       COMES NOW, Defendant “QUICKTRIP CORPORATION,” filing its Original Answer and

Verified Denial to Plaintiff’s Original Petition, respectfully showing as follows:

                                                I.
                                         VERIFIED DENIAL

       By way of verified denial pursuant to Texas Rule of Civil Procedure 93, Defendant denies

that Plaintiff is entitled to recover from Defendant in the capacity in which it has been sued.

Specifically, Defendant denies that “QUICKTRIP CORPORATION” owned or operated the store or

premises at issue on the date of this incident. Consequently, Plaintiff has no right or potential

right of recovery against Defendant because the proper party has not been sued. See, e.g., Ray

Malooly Trust v. Juhl, 186 S.W.3d 568, 571 (Tex. 2006).

                                               II.
                                         GENERAL DENIAL

       Defendant denies each and every material allegation contained in Plaintiff’s Original

Petition, demands strict proof thereof, and -- to the extent that such matters are questions of

fact -- says Plaintiff should prove such facts by a preponderance of the evidence to a jury if

she can so do.


DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION          Page 1
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                                          III.
                   DEFENSES AND LIMITATIONS ON DAMAGES AND LIABILITY

       1.      Defendant specifically denies Plaintiff’s allegations that it was negligent in any

respect, and Defendant denies that any of its alleged acts or omissions proximately caused

Plaintiff’s alleged damages, if any.

       2.      Defendant claims that Plaintiff failed to use that degree of care and caution as

would have been used by a reasonable person under the same or similar circumstances, thereby

producing or proximately causing or contributing to Plaintiff’s alleged damages, if any. Such acts

or omissions of Plaintiff were the sole and/or a producing and/or a proximate and/or a

supervening and/or an intervening cause of Plaintiff’s alleged damages or injuries, if any.

       3.      Defendant asserts that Plaintiff’s damages or injuries, if any, were caused by the

acts or omissions of third persons not under the control of Defendant. Such acts or omissions of

said third persons were the sole and/or a producing and/or a proximate and/or an intervening

and/or a supervening cause of Plaintiff’s damages or injuries, if any.

       4.      Defendant had neither actual nor constructive knowledge of the condition about

which Plaintiff complains, and further asserts that, in any event, the alleged condition was not

“unreasonably dangerous.”

       5.      Additionally, and in the alternative, Defendant asserts that the alleged premises

condition of which Plaintiff complains was already appreciated by Plaintiff, was open and

obvious, was not concealed, and/or was a known risk and, therefore, Defendant denies that it

owed any duty to warn Plaintiff of the alleged premises condition or protect Plaintiff from same.

       6.      Additionally, and in the alternative, Defendant asserts that it provided adequate

warning of the condition at issue.


DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION              Page 2
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       7.      Defendant further contends that the incident complained of was an unavoidable

accident, as that term is defined under Texas law.

       8.      To the extent necessary, Defendant asserts that the damages of which Plaintiff

complains, if any, may be the result of prior, pre-existing, or subsequent injuries, accidents, or

conditions, and said prior, pre-existing, or subsequent injuries, accidents, or conditions may

therefore be the sole or a contributing cause of Plaintiff’s alleged damages, if any.

       9.      Defendant may further show that Plaintiff breached her duty to mitigate damages

by failing to exercise reasonable care and diligence to avoid loss and minimize the consequences

of damages.

       10.     Defendant asserts that Plaintiff may be malingering and/or exaggerating the

nature and severity of her injuries in order to continue treatment, and, accordingly, Defendant

contends said treatment may not be medically necessary or reasonable.

       11.     Defendant respectfully requests that the factfinder allocate responsibility, if any,

among all parties, settling parties, and responsible third parties, in accordance with Chapters 32

and 33 of the Texas Civil Practice and Remedies Code.

       12.     Defendant further asserts that any claims for medical or health care expenses

incurred are limited to the amount actually paid or incurred by or on behalf of Plaintiff under

Texas Civil Practice and Remedies Code § 41.0105.

       13.     Pursuant to Texas Civil Practice & Remedies Code § 18.091, to the extent that

Plaintiff is seeking a recovery for loss of earnings, lost wages, loss of earning capacity and/or loss

of contributions of pecuniary value, Defendant asserts that evidence of such alleged losses must




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION               Page 3
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be presented by Plaintiff in the form of a net loss after reduction for income tax payments, or

unpaid tax liability to any federal income tax law.

       14.     In the unlikely event an adverse judgment is rendered against Defendant in this

matter, Defendant respectfully prays for contribution, indemnity and/or all available credits as

provided for in the Texas Civil Practice and Remedies Code and under Texas law.

                                            IV.
                                REQUEST FOR COURT REPORTER

       Defendant respectfully requests that a court reporter be present at all proceedings before

this Honorable Court.

                                                V.
                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that Plaintiff take

nothing by this cause of action, that Defendant be permitted to recover the costs expended on

its behalf, and for such other and further relief to which Defendant may show itself justly entitled,

in law or in equity.




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION              Page 4
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                                            Respectfully submitted,

                                            PEAVLER | BRISCOE

                                            /s/ B. Kyle Briscoe
                                            B. Kyle Briscoe
                                            State Bar No. 24069421
                                            kbriscoe@peavlerbriscoe.com
                                            Nicolas M. Lund
                                            State Bar No. 24084391
                                            nlund@peavlerbriscoe.com
                                            PEAVLER | BRISCOE
                                            2215 Westgate Plaza
                                            Grapevine, Texas 76051
                                            (214) 999-0550 (telephone)
                                            (214) 999-0551 (facsimile)

                                            ATTORNEYS FOR DEFENDANT




                                    CERTIFICATE OF SERVICE

       The undersigned counsel for Defendant hereby certifies that a true and correct copy of
the foregoing document has been forwarded to all counsel of record, pursuant to and in
accordance with the Texas Rules of Civil Procedure, on March 26, 2021.

                                            /s/ B. Kyle Briscoe
                                            B. Kyle Briscoe




DEFENDANT’S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF’S ORIGINAL PETITION       Page 5
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                                                             VERIFICATION

STATE OF TEXAS                                           §
                                                         §
COUNTY OF TARRANT                                        §

        Before me, the undersigned authority, did personally appear B. Kyle Briscoe, who upon
his oath deposes and says that he is one of the attorneys for Defendant, that he has never been
convicted of a disqualifying crime, and that he is over the age of 21 and competent to make this
verification. Accordingly, Mr. Briscoe verifies that the facts alleged in Paragraph I ofthe foregoing
pleading are true and correct .




                                                                B. Kyle Briscoe



         Subscribed and sworn to before me on                     thi~aay of March, 2021.




      ,,\'''""t''
           ~Y Pv ,,,..   STEPHANIE MACDONALD
     ~6';*
      -~·
            ·" '··~<:.~
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                         Notary Public. State of Texas
     ;~:.         )~~ Comm . Expires 11 -20-202 1
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DEFENDANT'S ORIGINAL ANSWER AND VERIFIED DENIAL TO PLAINTIFF'S ORIGINAL PETITION                      Page6
